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                  IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

JENNIFER BEASLEY; DR. KIFFANY PRIDE;
LAURA SHIRLEY; and
NICOLE TOWNSEND                                                                  PLAINTIFFS

v.                                     4:18-cv-508-DPM

DR. CHARLES MCNULTY, in his official
capacity as Superintendent of Schools of the
Pulaski County Special School District;
PULASKI COUNTY SPECIAL SCHOOL
DISTRICT BOARD OF DIRECTORS; and
PULASKI COUNTY SPECIAL SCHOOL
DISTRICT, a public body corporate                                             DEFENDANTS

                    AMENDED FINAL SCHEDULING ORDER

Pursuant to Federal Rule of Civil Procedure 16(b), the Court orders:

     !        Deadline to request any
              pleading amendment....................................................... PASSED

     !        Joint status report due ................................................ 8 April 2020

     !        Discovery cutoff ........................................................... 8 May 2020

     !        Dispositive and Daubert motions due1 ...................... 8 June 2020

     !        Joint status report, including
              settlement conference request, due ........................... 8 June 2020




         1    Note and follow the procedure specified infra.
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  !        Deposition designations exchanged2.................... 4 August 2020

  !        Motions in limine due .......................................... 24 August 2020

  !        Local Rule 26.2 pre-trial
           disclosure sheets due ........................................ 3 September 2020

  !        Joint report on deposition designation
           disputes (if any) ................................................. 3 September 2020

  !        Trial briefs due .................................................. 3 September 2020

  !        Jury Instructions (agreed or disputed) due ... 3 September 2020

  !        Jury Trial, Little Rock Courtroom 1A .................. 5 October 2020

  !        Protective Orders. Before filing a motion for approval,
           counsel should email a draft order in WordPerfect or Word to
           chambers for review. Alert the law clerk on the case to the
           draft=s submission. Avoid legalese. Short, plain orders are
           better than long, complicated ones. Incorporate Fed. R. Civ.
           P. 5.2's mandate for redaction if practicable before any filing
           under seal. The order should remain in effect no longer than
           one year after litigation ends, not in perpetuity. Incorporate
           the procedure for discovery disputes, see infra, to cover
           disputes about whether a document is confidential.

  !        Discovery Disputes. Counsel should confer in good faith in
           person before bringing any discovery dispute to the Court. Do
           not file motions to compel. Do not file a motion to quash or
           for protective order unless there is an emergency. If the
           parties reach a discovery impasse, they should file a joint report
           explaining the disagreement.       File this paper under the
           CM/ECF event called AJoint Report of Discovery Dispute@.

      2    Note and follow the procedure specified infra.


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        Your joint report must not exceed ten pages, excluding the style
        and signature block. Each side gets five pages. Do not file a
        motion asking for more pages. Use double spacing and avoid
        footnotes.    Attach documents (such as disputed written
        discovery or responses) as needed. Redact any attachments
        as required by Federal Rule of Civil Procedure 5.2 to protect
        confidential information. File the joint report sufficiently
        before the discovery cutoff so that the dispute can be resolved,
        and any additional discovery completed, without undermining
        other pretrial deadlines. The Court will rule or schedule a
        hearing. Alert the law clerk on the case to the joint report=s
        filing. If a dispute arises during a deposition, call chambers
        so the Judge can rule during the deposition.

  !     Summary Judgment. Motions must comply with Federal
        Rule of Civil Procedure 56 and Local Rules 7.2 and 56.1. Make
        the complete condensed transcript of any deposition cited an
        exhibit. Limit your Rule 56.1 statements to material facts.
        Include a specific supporting record citation for each fact
        asserted. Responding statements of fact must repeat the
        statement being responded toClike a discovery response.
        Include a specific supporting record citation for each fact
        disputed or asserted in the responding statement. A party=s
        substantial failure to follow these procedures will result in the
        party having to correct its filing. If the summary judgment
        papers are voluminous, the Court would appreciate the parties
        sending a courtesy paper copy to chambers. Any movant
        may reply within seven calendar days of a response to a motion
        for summary judgment.

  !     Deposition Designations. The Court strongly encourages
        the parties to use live testimony, rather than testimony by
        deposition, at trial. If the parties nonetheless need to use
        deposition testimony, then they must use the following
        procedure.    Thirty days before Local Rule 26.2 pre-trial
        disclosure sheets are due, the parties should exchange

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        deposition designations. As soon as practicable thereafter,
        counsel must meet and confer in person. They should try
        hard to agree on what deposition testimony will be presented
        at trial and resolve any objections. If any dispute or objection
        remains unresolved, then the parties should file a joint report
        explaining the dispute on the same date pre-trial disclosure
        sheets are due. The parties must certify that they met and
        conferred in person but failed to resolve the disputed issue.
        The parties should also deliver to chambers a paper copy of the
        entire transcript of any deposition involved in any dispute.

  !     Jury Instructions. The Court will use its own introductory
        and general instructions.        The parties should submit
        proposed instructions only on elements and anything unusual
        and proposed verdict forms. The Court strongly encourages
        the parties to confer and agree on these instructions and forms.
        The parties should also submit an agreed proposed statement
        of the case. Note authority on the bottom of each proposed
        instruction.    Please explain the reason for any disputed
        instructions in your submission. Send agreed and disputed
        instructions      in     WordPerfect        or     Word       to
        dpmchambers@ared.uscourts.gov. Alert the law clerk on the
        case that you have submitted the instructions.

  !     Exhibits. The Court strongly encourages the parties to agree
        on as many of the exhibits as possible. Deliver the original
        exhibits, and one copy, in three-ring binders to the Courtroom
        Deputy on the Wednesday before trial starts. Please also
        include an electronic copy, plus (on the Court’s forms) the
        exhibit and witness lists.

  !     Courtroom Technology.       Before any pretrial, and as soon as
        practicable before any hearing, counsel should contact the
        courtroom deputy about technology needs.              She will
        coordinate with the Court’s IT department. Any plan for use


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        of non-Court technology must be approved by the IT
        department.

  !     Pre-Trial Hearing. It will be set by separate notice. We will
        address motions in limine, deposition excerpts for use at trial,
        jury instructions, trial architecture, exhibits, and voir dire.

  !     Conflicts Of Interest. Counsel must check the Court's recusal
        list on file in the U.S. District Clerk's Office to determine
        whether there is any conflict that might require recusal. If any
        party is a subsidiary or affiliate of any company in which the
        Court has a financial interest, counsel should bring that fact to
        the Court's attention immediately.

     Please communicate with Sherri Black, Courtroom Deputy, by e-
mail at sherri_black@ared.uscourts.gov to check your position on the
calendar as the trial date approaches. In the event of settlement,
advise Sherri Black immediately.

                               AT THE DIRECTION OF THE COURT
                               JAMES W. McCORMACK, CLERK

                               By:     Sherri Black
                                      Courtroom Deputy to
                                      Judge D. P. Marshall Jr.

                                      20 November 2019




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